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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 PERCEPT TECHNOLOGIES, INC.,

                               Plaintiff,

        V.                                          Civil Action No. l 7-cv-1119-RGA

 FOYE, INC.,

                               Defendant.


                                STIPULATION OF DISMISSAL

        Plaintiff Percept Technologies, Inc. and Defendant FOYE, Inc. hereby stipulate to the

 dismissal of all claims which were asserted in the action as of March 13, 2018, with prejudice

 pursuant to Fed. R. Civ. P. 41(a)(l)(A)(ii), with each party to bear its own fees and costs.


Dated: March 13, 2018                                       Respectfully submitted,

FARNANLLP                                                   ROSS ARONSTAM &MORITZ LLP

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 IT IS SO ORDERED this     __j.d_ day of March, 2018~ ~
                                                      The Honorable R@hard G. Andrews
